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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division

 

UNITED STATES OF AMERICA
Criminal No. l 118-cr-00083-TSE

Judge T. S. Ellis, HI

ORAL ARGUMENT REQUESTED

PAUL J- MANAFORT» JR-» May 25, 2018 @ 9;00 a.m.

Defendcml.

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MEMORANDUM OF LAW IN SUPPORT OF MOTION TO REOUIRE A HEARING
REGARDING IMPROPER DISCLOSURES RELATING TO CONFIDENTIAL GRAND
JURY INFORMATION AND POTENTIALLY CLASSIFIED MATERIALS

I. INTRODUCTION

In the fall of 2016, the former chairman to Donald J. Trurnp’s presidential campaign, Paul
J. Manafort, Jr., became the target of an apparent “leaks” campaign conducted by numerous
unidentified government officials. Over the following sixteen months, current and former
government officials-including law enforcement agents-disclosed confidential and ostensibly
classified information to multiple media sources in an effort to substantially prejudice and
adversely impact Mr. Manafort. These actions Were in violation of the defendant’s Fifth
Amendment right to due process, his Sixth Amendment right to trial before an impartial jury, and
Rule 6(e) of the Federal Rule of Criminal Procedure. The government leaks may have also

disclosed classified information, a felony, in violation of 18 U.S.C. § 798. Moreover, it appears

that government officials or agents intentionally provided false information to media outlets,

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knowing that the information would be widely reported and that the disclosures Would unfairly
prejudice Mr. Manafort in his efforts to defend himself.

Without question, unauthorized government leaks during criminal investigations and
prosecutions create enormous challenges for both the target/defendant and the Court. Such leaks
impugn the character of the individual under investigation and substantially undermine a
fundamental principle of our judicial system; i.e., the right of the defendant to have the case
determined by an impartial jury on the facts.

The case at bar involves a matter of intense national and international attention From the
outset, Mr. Manafort has been on the receiving end of a torrent of negative and apparently false
press generated by numerous unlawful disclosures made by individuals within the government
There have been important details reported regarding these sources, and the basis for their inside
knowledge As discussed inj‘i'a, the leakers in these articles are often identified as current and
former government officials Who have requested anonymity, Who admit that they Were not
authorized to speak, and who were-astoundingly_providing information that was seemingly
classified Although the exact persons are not yet known, they must be identified At bottom,
these government-sourced disclosures have violated the Federal Rules of Criminal Procedure,
internal government policies and procedures, federal statutes, and Mr. Manafort’s constitutional
rights.

Here, an investigation could be done expeditiously lt has been widely reported that
Congressional Committees and the Department of Justice have been investigating government
leaks related to the investigation of whether there Was contact or coordination between the Trump
campaign and Russian government officials Importantly, former FBI Director J ames Comey, and

former FBI Deputy Director Andrew McCabe, have admitted to leaking information to the press

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during their tenures at the FBI. Both individuals had direct involvement in the investigation of the
Trump campaign There should be a manageable number of individuals that had access to the
leaked information, as the information was confidential and/or classified and, by definition, not
widely disseminated A small sampling of unlawful disclosures made about Mr. Manafort follows
II. UNAUTHORIZED DISCLOSURES OF PROTECTED INFORMATION
From October 2016 through February 2018, countless press articles were published and
disseminated regarding the government’s investigation and prosecution of Mr. Manafort.
Numerous reports contained information from government sources that Was clearly subject to
grand jury secrecy, was potentially classified intelligence information, or was simply false. For
example:
On October 31, 2016, NBC News reported that:
¢ The FBI has been conducting a preliminary inquiry into Donald Trump’s former campaign
manager Paul Manafort’s foreign business connections
¢ The article cited law enforcement and intelligence sources

Ken Dilanian, Robert Windrem, William M. Arkin and Tom Winter, FBI Makz'ng Inquiry
Into Ex-Trump Campaign Manager’s Forez'gn Ties, NBC News, Oct. 31, 2016. (Exhibit

l).
On February 14, 2017, The New York Times reported that:

¢ Phone records and intercepted calls show that members of the Trump campaign and other
Trump associates had repeated contact with senior Russian intelligence officials in the year
before the election, according to four current and former American officials

0 All of the current and former officials spoke on the condition of anonymity because the

continuing investigation is classified

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The officials stated that one of the advisors picked up on a recorded call was Paul Manafort
who was Trump’s campaign chairman for several months last year.

The National Security Agency, which monitors the communications of foreign intelligence
services, initially captured calls between Trump’s associates and the Russians as part of
routine foreign surveillance After that, the FBI asked the NSA to collect as much
information as possible about Russian operatives on the phone calls and to search through
troves of previously intercepted communications that had not been analyzed

The agency’s investigation of Mr. Manafort began last spring as an outgrowth of a criminal
investigation into his work for a pro-Russian political party in Ukraine and for the country’s
former president, Victor Yanukovych. lt has focused on why he Was in such close contact
With Russian and Ukrainian intelligence officials

The Bureau did not have enough evidence to obtain a warrant for a wiretap of Mr.
Manafort’s communications but it had the NSA scrutinize the communications of
Ukrainian officials he had met.

Michael S. Schmidt, Mark Mazzetti and Matt Apuzzo, Trump Campaign Az'des Had

Repeatea’ Contacts with Russian Intelligence, The New York Times, Feb. 14, 2017.
(Exhibit 2).

On March 22, 2017, the Associated P'ress reported that:

People familiar with the relationship between Paul Manafort and Russian oligarch Oleg
Deripaska said money transfers to Mr. Manafort amounted to tens of millions of dollars
and continued through 2009. They spoke on the condition of anonymity because they were
not authorized to discuss secret payments publicly.

Paul Manafort had been a leading focus of the U.S. intelligence investigation of Trump’s

associates and Russia, according to a U.S. official. The person spoke on the condition of

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anonymity because details of the investigation are confidential Meanwhile, federal
criminal prosecutors became interested in Manafort’s activities years ago as part of a broad
investigation to recover stolen Ukrainian assets

J eff Horwitz & Chad Day, Before Trump Job Manafort Worked to Al`a' Putin, Associated
Press, Mar. 22, 2017. (Exhibit 3).

On March 23, 2017, the Associated Press reported that:

Treasury agents in recent months obtained information connected to Paul Manafort’s
transactions from Cypriot authorities according to a person familiar with the matter who
was not authorized to speak publicly.

The time period covered under the request for Mr. Manafort’s transactions from the
Treasury Department’s Financial Crimes Enforcement Network Was not immediately

clear.

lack Gillum, Menelaos Hadjicostis & Eric Tucker, US Probe of Ex~T mmp Az'de Extends
T 0 Cyprus, Associated Press, Mar. 23, 2017. (Exhibit 4).

On April 12, 2017, the Associated Press reported that:

Now, financial records newly obtained by the AP confirm that Paul Manafort’s firm
received at least some money listed in the so called “black ledger.”

Federal prosecutors in the U.S. have been investigating Mr. Manafort’s work in Eastern
Europe as part of a larger anti-corruption probe.

Jack Gillum, Chad Day and J eff Horwitz, Manafort Firm Recez`vea’ Ukraine Ledger Payoul,
Associated Press, Apr. 12, 2017. (Exhibit 5).

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On June 3, 2017, the Associated Press reported that:

The Special Counsel investigating possible ties between Trump’s campaign and the
Russian government has taken over a separate criminal probe involving former Trump
campaign chairman Paul Manafort.

The expansiveness of Mueller’s investigation was described to the AP. No one familiar
with the matter has been willing to discuss the scope of his investigation on the record
because it is just getting underway and because revealing details could complicate its
progress

Sadie Gurman, Eric Tucker, and Jeff Horwitz, Special Counsel ’s Trump Investigation
Inclua’es Manafort Case, Associated Press, Jun. 3, 2017. (Exhibit 6).

On August 4, 2017, CNN reported that:

In the summer of 2016, U.S. intelligence agencies noticed a spate of curious contacts
between Trump campaign associates and suspected Russian intelligence, according to
current and former U.S. officials briefed on the investigation

In the months that followed, investigators turned up intercepted communications
appearing to show efforts by Russian operatives to coordinate With Trump associates on
damaging Hillary Clinton’s election prospects, officials said CNN has learned those
communications included references to campaign chairman Paul Manafort.

The suspect operatives relayed what they claimed were conversations with Mr. Manafort,
encouraging help from the Russians.

Evan Perez, Pamela Brown, and Shimon Prokupecz, One Year fmc the FBI’s Russia
Invesligatz`on, Mueller ls On the Trump Money Trail, CNN, Aug. 4, 2017. (Exhibit 7).

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Again, this is but a small sampling of the improper disclosures made by government
officials regarding the defendant Indeed, in the days before the Special Counsel presented
superseding indictments in the Eastern District of Virginia and the District of Columbia, numerous
news stories_-again fueled by government sources_-appeared in the media which violated Mr.
Manafort’s constitutional rights to due process and trial by an impartial jury. See, evg., Jason
Leopold, Anthony Cormier and Tanya Kozyreva, Manafort Under Scrutiny for $40 Mz`llion in
“Suspz`cz`ous” Transactz`ons, BuzzFeed News, Feb. l9, 2018l (discussing the Special Counsel’s
investigation and noting that “three current and former law enforcement officials said that
Mueller’s team is poring over [documents] as it considers leveling new charges against
Manafort”); David Willman, Former Trump Az'a'e Rz`chard Gates to Plead Guilly,' Agrees to Testz`jj)
Agal`nst Manafort, Sources Say, L.A. Times, Feb. 18, 20182 (discussing Gates’ anticipated plea
“within the next few days” and stating that these individuals “spoke on condition of anonymity,
citing a judge’s gag order restricting comments about the case to the news media or public”);
Katelyn Polantz and Sara Murray, Exclusive: A Top Trump Campaz`gn Aa'vz`ser Close to Plea Deal
with Mueller, CNN, Feb. l7, 20183 (anonymous sources stating that “investigators with the special
counsel’s office are preparing to file new charges against him, according to people familiar with

the probe”).

 

l Available at: lilt|)s;//www.buzzfeed.com/jasonleopold/manafol't-uiidei'-sci'utiny-foi'-¢lO-mil|ion~in-
sus|)icious‘?utni term=.vq RZlE\/ed#.lnl}van\/v} (last accessed Apr. 30, 20l8).

2 Available at: littp://ww\v.latimes.com/politics/la-na~pol~i'ick-gzites-plea-deal-QO1802 l 8~stoi'v.litm| (last
accessed Apr. 30, 2018).

3 Available at: littps;//wv\'\.v.cnn.com/Z()l 8/02/15/1)01itics/l'ick-gatcs-plea-deal-mueller~russia-
investigation/index.litml (last accessed Apr. 20, 2018).

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As is evident, the government sources are specifically identified as such in the news
articles, and even when they are not, it is abundantly clear that the leakers are current or former
government officials With personal knowledge of the matters reported F or example, in the CNN
article noted immediately above, the reporters point out that Mr. Gates’ lawyers did not respond
to requests for comments and Mr. Manafort, of course, was certainly not privy to plea negotiations
between Mr. Gates and the Special Counsel or his Office’s inner workings The only reasonable
inference is that the source of the disclosure was from government officials who had knowledge
about the status of the investigation

III. ARGUMENT

A. INTERFERENCE WITH CONSTITUTIONAL RIGHTS TO DUE PROCESS AND A
TRIAL BEFORE AN IMPARTIAL JURY

The government-sourced leaks concerning surveillance of Mr. Manafort with foreign
individuals is particularly troubling Despite multiple discovery and Brady requests in this regard,
the Special Counsel has not produced any materials to the defense-no tapes, notes, transcripts or
any other material evidencing surveillance or intercepts of communications between Mr. Manafort
and Russian intelligence officials, Russian government officials (or any other foreign officials).
The Office of Special Counsel has advised that there are no materials responsive to Mr. Manafort’s
requests Of course, the natural implication of this is that these government leaks were
intentionally designed to create a false narrative in order to garner support for the appointment of
a Special Counsel to investigate Mr. Manafort for purportedly coordinating With Russian
intelligence/ government officials despite the lack of any such evidence. If this proves this to be
true, then Mr. Manafort should not have been referred to the Special Counsel for investigation of
coordination with the Russian government, nor for any other matters Simply put, without original

jurisdiction to investigate Mr. Manafort for alleged coordination with the Russian government

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during the presidential campaign of Donald J. Trump, the Special Counsel had - and has ~ no
lawful authority or jurisdiction to investigate and prosecute Mr. Manafort for the matters that he
has brought in this Court and in the District of Columbia. See Unz`ted States v. Provia'ence Joumal
C0., 485 U.S. 693 (1988); see also Larson v. Domestic & Forez`gn Commerce Corp., 337 U.S. 682
(1949).

l\/Ioreover, the false government leaks started long before the government returned the first
indictment against Mr. Manafort in October 2017 and continued until the eve of the Special
Counsel’s superseding indictments in February 2018. These leaks were clearly intended to
unfairly prejudice the jury pool, both grand jury and petit, against Mr. Manafort and deprive Mr.
Manafort of due process and an impartial jury. Here, the unfair prejudice suffered by Mr. Manafort
is indisputable See Irvin v. Dowd, 366 U.S. 717 (1961). The press articles state that multiple
government officials confirmed repeated contact between the Trump campaign (including Mr.
Manafort), Trump associates and Russian intelligence officials in the year before the election The
false impressions created by this baseless narrative would reasonably cause grand jurors or future
potential trial jurors to speculate that, if Mr. Manafort was communicating with Russian
intelligence officials during the campaign, then he may have been involved in some other nefarious
conduct. Accordingly, if the representations of the Special Counsel are accurate, and there is not,
in fact, any evidence of communications between Mr. Manafort and foreign officials, then the
perpetrators of this elaborate hoax must be identified and punished and the substantial unfair
prejudice to Mr. Manafort must be remedied

B, VIOLATIONS OF GRAND JURY SECRECY
Rule 6(e) of the Federal Rules of Criminal Procedure prohibits government attorneys and

agents from disclosing “a matter occurring before the grand jury. . . .” Fed. R. Crim. P. 6(e)(2)(B).

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As the Supreme Court has stated, “the proper functioning of our grand jury system depends upon
the secrecy of grand jury proceedings,” which encourages voluntary participation in investigations,
enables witnesses to testify fully and frankly, safeguards the investigative process from undue
outside influence, and spares uncharged investigatory targets from public ridicule. Douglas Oil
C0. v. Petrol Stops Northwest, 441 U.Si 211, 218-19 (1979). As a result, courts have an obligation
to look into alleged Rule 6(e) violations ln Finn v. Schiller, 72 F.3d 1182 (4"‘ Cir. 1996), the
Fourth Circuit held “--that upon a prima facie showing to the district court of an alleged Rule 6(e)
violation, the court must take appropriate steps to determine whether a violation has occurred If
the court finds that a violation has, in fact, occurred, the court should take appropriate action to
prevent further violations and to sanction the violator as provided by the Rule.” Id. at 1189-90.

In this matter, there is prima facie evidence that government officials and agents with
access to or information about the Special Counsel’s investigation and prosecution have violated
longstanding rules protecting grand jury information Press reports sufficiently demonstrate
reliance on government sources when the nature of the information provided by the source reveals
a connection to the government See Barry v. Unitea' States, 865 F.2d 1317, 1325 (D.C. Cir. 1989);
see also In re Grand Jary Investigaiion (Lance), 610 F.2d 202, 218 ( 5th Cir. 1980). By their
actions, it is self-evident that the objective of these government sources was to create unfair
prejudice against Mr. Manafort and thereby deprive him of his Fifth and Sixth Amendment rights
The government’s investigation and the criminal charges that ultimately resulted from it, are the
epitome of a party seeking to decide a case in the press and not the courtroom.

As noted in the sampling of articles published in the major media outlets identified above,
the evidence of these Rule 6(e) violations is clear and substantial. Mr. Manafort was identified to

media outlets as a target of a criminal investigation as early as the fall of 2016. With respect to

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the scope of the investigation and the law enforcement techniques that were being employed, the
reporting indicates among other things, that the National Security Agency was asked to scrutinize
classified intercepts of phone calls with Russian intelligence officials with whom Mr. Manafort
had communicated with because the FBI could not obtain a court-ordered wiretap. The
govemment’s theories of wrongdoing abound, but clearly disclose a focus upon Mr. Manafort’s
Ukrainian consulting activities lndeed, discovery materials produced by the government in this
case substantiate the existence of federal grand jury investigation(s) of Mr. Manafort prior to the
appointment of the Special Counsel in May 2017. Therefore, the government leaks disclosing the
nature of the investigation its time frame, and the potential dollar amounts of the purported
criminal violations are clear violations of Rule 6(e) and also violated the Justice Department’s own
policies and procedures “[A] prima facie case of a violation of Rule 6(e)(2) is made when . . .
media reports disclose[] information about matters occurring before the grand jury and indicate
that the sources of the information include[] attorneys and agents of the Government.” Barry, 865
F.2d at 1321 (citations and internal quotation marks omitted).

ln fact, the most compelling evidence that government officials or agents have knowingly
violated Rule 6(e)’s secrecy requirement is the way in which the media reports describe the
sources Apparently, there was no fear of potential legal repercussions by these sources ln many
instances, no effort whatsoever is made to hide the fact that the leakers are government officials
or agents with direct knowledge of the investigation ln other cases, the reports state that the
sources “are not authorized to discuss” the matter, or that anonymity is required because the
“continuing investigation is classified.” There is thus a strong inference that these individuals
knew that they were subject to the requirements of Rule 6(e), but nevertheless chose to disclose

the information Any other interpretation is implausible See, e.g., ln re Motions of Dow Jones &

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C0., 142 F.3d 496, 500 (D.C. Cir. 1998). The totality of the facts demonstrate that Mr. Manafort
is entitled to a hearing requiring the Office of Special Counsel to address the unauthorized leaks
to the press

WHEREFORE, Defendant Manafort respectfully requests the relief sought in the instant
motion including requiring the Office of Special Counsel to address the unauthorized leaks to the
press at a hearing and other such relief needed to allow Mr. Manafort an opportunity to seek legal
redress for all violations of his constitutional rights

Dated: April 30, 2018 Respectf`ully submitted,

s/ Kevin M. Downing
Kevin M. Downing (pro hac vice)

Law Office of Kevin M. Downing
601 New Jersey Avenue NW

Suite 620

Washington, DC 20001

(202) 7 54-1992
kevindowning@kdowninglaw.com

s/ Thomas E. Zehnle

Thomas E. Zehnle (VSB No. 27755)
Law Office of Thomas E. Zehnle
601 New Jersey Avenue NW

Suite 620

Washington, DC 20001

(202) 368-4668
tezehnle@gmail.com

Counselfor Defendant Paul J Manafort Jr.

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